Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 1 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 2 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 3 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 4 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 5 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 6 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 7 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 8 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document      Page 9 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 10 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 11 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 12 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 13 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 14 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 15 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 16 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 17 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 18 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 19 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 20 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 21 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 22 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 23 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 24 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 25 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 26 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 27 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 28 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 29 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 30 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 31 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 32 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 33 of 34
Case 1:13-bk-13184   Doc 19    Filed 12/19/13 Entered 12/19/13 16:12:42   Desc Main
                              Document     Page 34 of 34
